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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  _____________________________________________

  ABRAHAM FEDER on behalf of himself and
  all other similarly situated consumers

                                          Plaintiff,

                -against-


  FINANCIAL RECOVERY SERVICES, INC.

                                          Defendant.

  _____________________________________________

                              CLASS ACTION COMPLAINT

                                         INTRODUCTION

  1.    Plaintiff, Abraham Feder, brings this action on behalf of himself and all others

        similarly situated, by way of this Class Action Complaint for the illegal practices of

        Defendant, Financial Recovery Services, Inc. who, inter alia, used false, deceptive,

        and misleading practices, and other illegal practices, in connection with its attempts

        to collect an alleged debt from the Plaintiff and others.

  2.    The Plaintiff alleges that Defendant's collection practices violate the Fair Debt

        Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”). Such collection

        practices include, inter alia:

        (a)     Leaving telephonic voice messages for consumers, which fail to provide

                meaningful disclosure of Defendant's identity;




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        (b)    Leaving telephonic voice messages for consumers, which fail to disclose

               that the call is from a debt collector; and

        (c)    Leaving telephonic voice messages for consumers, which fail to disclose the

               purpose or nature of the communication (i.e. an attempt to collect a debt).

  3.    The FDCPA regulates the behavior of collection agencies attempting to collect a

        debt on behalf of another. The United States Congress has found abundant

        evidence of the use of abusive, deceptive, and unfair debt collection practices by

        many debt collectors, and has determined that abusive debt collection practices

        contribute to a number of personal bankruptcies, marital instability, loss of jobs,

        and invasions of individual privacy. Congress enacted the FDCPA to eliminate

        abusive debt collection practices by debt collectors, to ensure that those debt

        collectors who refrain from using abusive debt collection practices are not

        competitively disadvantaged, and to promote uniform State action to protect

        consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

  4.    The FDCPA is a strict liability statute, which provides for actual or statutory

        damages upon the showing of one violation. The Second Circuit has held that

        whether a debt collector's conduct violates the FDCPA should be judged from the

        standpoint of the "least sophisticated consumer." Clomon v. Jackson, 988 F.2d

        1314 (2d Cir. 1993).

  5.    To prohibit harassment and abuses by debt collectors, the FDCPA, at 15 U.S.C. §

        1692d, provides that a debt collector may not engage in any conduct the natural

        consequence of which is to harass, oppress, or abuse any person in connection with


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        the collection of a debt and names a non-exhaustive list of certain per se violations

        of harassing and abusive collection conduct. 15 U.S.C. § 1692d(l)-(6). Among the

        per se violations prohibited by that section are the placement of telephone calls

        without meaningful disclosure of the caller's identity. 15 U.S.C. § 1692d(6).

  6.    To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use

        of false, deceptive, and misleading collection practices and names a non-exhaustive

        list of certain per se violations of false and deceptive collection conduct. 15 U.S.C.

        § 1692e(1)-(16). Among the per se violations prohibited by that section are: using

        any false representation or deceptive means to collect or attempt to collect any debt

        or to obtain information concerning a consumer, 15 U.S.C. § 1692e(10); the failure

        by debt collectors to disclose in initial oral communications that the debt collector

        is attempting to collect a debt and that any information obtained will be used for

        that purpose, 15 U.S.C. § 1692e(11); and the failure by debt collectors to disclose

        in subsequent oral communications with consumers that the communication is from

        a debt collector, 15 U.S.C. § 1692e(11).

                                            PARTIES

  7.    At all times relevant to this lawsuit, Plaintiff was a citizen of the State of New York

        who resides within this District.

  8.    Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692(a)(3) of the

        FDCPA.

  9.    The alleged debt that Defendant sought to collect from the Plaintiff involves a

        consumer debt.


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  10.   At all times relevant to this lawsuit, Defendant's principal place of business was

        located within Edina, Minnesota.

  11.   Defendant is regularly engaged upon, for profit, in the collection of allegedly owed

        consumer debts.

  12.   Defendant is a “debt collector” as specifically defined by the FDCPA, 15 U.S.C. §

        1692(a)(6).

                                    JURISDICTION & VENUE

  13.   Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

  14.   Venue is appropriate in this federal district pursuant to 28 U.S.C. § 1391(b)

        because a substantial part of the events giving rise to the claims of Plaintiff

        occurred within this federal judicial district.

                        FACTS PARTICULAR TO ABRAHAM FEDER

  15.   Upon information and belief, on a date better known by Defendant, Defendant

        began to attempt to collect an alleged consumer debt from the Plaintiff.

  16.   Within the one year immediately preceding the filing of this complaint, the

        Defendant contacted the Plaintiff on multiple occasions via telephone and left

        numerous voice messages in an attempt to collect the alleged obligation.

  17.   By way of limited example only, the following is a transcript of one such message

        that Defendant left for Plaintiff on his cellular telephone voicemail system on or

        about October 25, 2012:

        "Confidential and important message is meant solely for Abraham Feder, this is

        Mark John (sic), if you're not Abraham do not listen to the remainder of this call,


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        there will now be a brief pause. Abraham, I have a time sensitive settlement offer

        here for you if you would like to hear the details please return my call direct at

        8664601327, 8664601327."

  18.   At the time Plaintiff received the said messages, he did not know the identity of the

        caller.

  19.   At the time Plaintiff received the said messages, he did not know any person named

        "Mark John(sic)."

  20.   At the time Plaintiff received the said messages, he did not know that the caller was

        a debt collector.

  21.   At the time Plaintiff received the said messages, he did not know that the call

        concerned the collection of a debt.

  22.   Each of the messages is a "communication" as defined by 15 U.S.C. § 1692a(2).

  23.   Each of the above messages uniformly failed to identify the callers as debt

        collectors attempting to collect a debt.

  24.   Each of the said messages uniformly failed to provide meaningful identification of

        the Defendant's legal name.

  25.   The least sophisticated consumer could believe that the messages were from an

        original creditor.

  26.   The least sophisticated consumer could believe that the messages pertain to a host

        of issues - including family or medical matters - which may be viewed by a

        consumer as more pressing than a debt owed. The apparent purpose of these

        messages is to be vague enough to provoke the recipient to return the calls in haste.


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        Leaving a message that deceptively entices a consumer to communicate with a debt

        collector when he is caught off guard is precisely the kind of abuse the FDCPA

        intended to prevent.

  27.   The messages left by Defendant were deceptive and harassing per se in that they

        secreted the identity of the Defendant in violation of 15 U.S.C. § 1692d(6).

  28.   Upon information and belief, it is the regular practice of the Defendant to leave

        messages on consumers' answering machines that do not meaningfully identify

        themselves, and/or do not identify themselves as a debt collector.

  29.   The only way for Plaintiff and/or any least sophisticated consumer to obtain the

        identity of the caller leaving the messages, and to ascertain the purpose underlying

        the messages, was to place a return call to the telephone number provided in the

        messages and speak with a debt collector employed by Financial Recovery

        Services, Inc., and to provide the debt collector with personal information.

  30.   The Defendant intended that the messages have the effect of causing Plaintiff, and

        other least sophisticated consumers, to place return calls to the telephone number

        provided in the messages and to speak with their debt collectors, and then provide

        those debt collectors with their personal information, as the sole means of obtaining

        the identity of the caller leaving the messages, and to ascertain the purpose

        underlying the messages.

        Scores of federal court decisions – including the 2nd Circuit Court of Appeals and

        District Courts within the State of New York – uniformly hold that the FDCPA

        requires debt collectors to provide meaningful identification of itself in telephonic


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        voice messages left for consumers, such as the said messages, by accurately stating

        the name of the debt collection company and stating the nature and/or purpose of

        the call.

  31.   At all times relevant to this action, Financial Recovery Services, Inc. was aware of

        the substantial weight of legal authority requiring it to provide meaningful

        identification of itself in telephonic voice messages left for consumers, such as the

        said messages, by accurately stating its company name and stating the nature and/or

        purpose of the call.

  32.   At all times relevant to this action, Financial Recovery Services, Inc. willfully,

        deliberately, and intentionally chose not to provide meaningful identification of

        itself in telephonic voice messages left for consumers, such as the said messages,

        by accurately stating its company name and stating the nature and/or purpose of the

        call.

  33.   The Defendant's act of leaving the said messages for Plaintiff is conduct the natural

        consequences of which is to harass, oppress, or abuse a person in connection with

        the collection of a debt and is in violation of the FDCPA.

  34.   The Defendant's act of leaving the said messages for Plaintiff constitutes the use of

        a false, deceptive, or misleading representation or means in connection with the

        collection of a debt and is in violation of the FDCPA.

  35.   The FDCPA secures a consumer's right to have a debt collector cease further

        communications with the consumer. By failing to meaningfully identify itself,

        disclose the purpose of its call and state that Financial Recovery Services, Inc. is a


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        debt collector in a manner understandable to the least sophisticated consumer, the

        Defendant has engaged in conduct designed to deprive consumers of their right to

        have a debt collector cease further communications.

  36.   It is Defendant's policy and practice to leave telephonic voice messages for

        consumers and other persons, such as the above said messages, that violate the

        FDCPA by, inter alia:

        (a)    Failing to provide meaningful disclosure of Financial Recovery Services,

               Inc.'s identity;

        (b)    Failing to disclose that the call is from a debt collector; and

        (c)    Failing to disclose the purpose or nature of the communication, i.e. an

               attempt to collect a debt.

  37.   Upon information and belief, such messages, as alleged in this complaint, number

        at least in the hundreds.

  38.   Upon information and belief, the said messages were either pre-scripted or pre-

        recorded.

  39.   Defendant has engaged in a pattern of leaving messages without disclosing that the

        communication is from a debt collector.

  40.   The said telephone messages are in violation of 15 U.S.C. §§ 1692d, 1692d(6),

        1692e(10) and 1692e(11) for failing to indicate that the messages were from a debt

        collector which constitutes a deceptive practice.




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                                  CLASS ALLEGATIONS

  41.   This action is brought as a class action. Plaintiff brings this action on behalf of

        himself and on behalf of all other persons similarly situated pursuant to Rule 23 of

        the Federal Rules of Civil Procedure.

  42.   With respect to the Plaintiff's Class, this claim is brought on behalf of a class of (a)

        all persons in the State of New York (b) for whom Financial Recovery Services,

        Inc. left a voicemail or answering machine message, in the form of the above said

        messages (c) that did not identify Financial Recovery Services, Inc. by its true

        company name or state that the call was for collection purposes (d) made in

        connection with Financial Recovery Services, Inc.'s attempt to collect a debt (e)

        which the said messages violate the FDCPA (f) during a period beginning one year

        prior to the filing of this initial action and ending 21 days after the service of the

        initial complaint filed in this action.

  43.   The identities of all class members are readily ascertainable from the records of

        Financial Recovery Services, Inc. and those business and governmental entities on

        whose behalf it attempts to collect debts.

  44.   Excluded from the Plaintiff's Class are the Defendants and all officers, members,

        partners, managers, directors, and employees of Financial Recovery Services, Inc.,

        and all of their respective immediate families, and legal counsel for all parties to

        this action and all members of their immediate families.

  45.   There are questions of law and fact common to the Plaintiff's Class, which common

        issues predominate over any issues involving only individual class members. The


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         principal issues are whether the Defendant's telephonic voice messages, such as the

         above said messages, violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e(10), and

         1692e(11).

   46.   The Plaintiff's claims are typical of the class members, as all are based upon the

         same facts and legal theories.

   47.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class

         defined in this complaint. The Plaintiff has retained counsel with experience in

         handling consumer lawsuits, complex legal issues, and class actions, and neither

         the Plaintiff nor his attorneys have any interests, which might cause them not to

         vigorously pursue this action.

   48.   This action has been brought, and may properly be maintained, as a class action

         pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure

         because there is a well-defined community interest in the litigation:

            (a)       Numerosity: The Plaintiff is informed and believes, and on that basis

                      alleges, that the Plaintiff's Class defined above is so numerous that

                      joinder of all members would be impractical.

            (b)       Common Questions Predominate: Common questions of law and fact

                      exist as to all members of the Plaintiff's Class and those questions

                      predominate over any questions or issues involving only individual

                      class members. The principal issues are whether the Defendant's

                      telephonic voice messages, such as the above said messages violate 15

                      U.S.C. §§ 1692d, 1692d(6), 1692e(10), and 1692e(11).


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            (c)   Typicality: The Plaintiff's claims are typical of the claims of the class

                  members. Plaintiff and all members of the Plaintiff's Class defined

                  in this complaint have claims arising out of the Defendant's common

                  uniform course of conduct complained of herein.

            (d)   Adequacy: The Plaintiff will fairly and adequately protect the

                  interests of the class members insofar as Plaintiff has no interests that

                  are adverse to the absent class members. The Plaintiff i s committed

                  to vigorously litigating this matter. Plaintiff has also retained

                  counsel experienced in handling consumer lawsuits, complex legal

                  issues, and class actions. Neither the Plaintiff nor his counsel have

                  any interests, which might cause them not to vigorously pursue the

                  instant class action lawsuit.

            (e)   Superiority: A class action is superior to the other available means

                  for the fair and efficient adjudication of this controversy because

                  individual joinder of all members would be impracticable. Class

                  action treatment will permit a large number of similarly situated

                  persons to prosecute their common claims in a single forum efficiently

                  and without unnecessary duplication of effort and expense that

                  individual actions would engender. Certification of a class under Rule

                  23(b)(l)(A) of the Federal Rules of Civil Procedure is appropriate

                  because adjudications with respect to individual members create a risk

                  of inconsistent or varying adjudications which could establish


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                       incompatible standards of conduct for Defendants who, on information

                       and belief, collect debts throughout the United States of America.

   49.    Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure

          is also appropriate in that a determination that the said messages violate 15 U.S.C.

          §§ 1692d, 1692d(6), 1692e(10), and/or 1692e(11) is tantamount to declaratory

          relief and any monetary relief under the FDCPA would be merely incidental to that

          determination.

   50.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

          is also appropriate in that the questions of law and fact common to members of the

          Plaintiff’s Class predominate over any questions affecting an individual member,

          and a class action is superior to other available methods for the fair and efficient

          adjudication of the controversy.

   51.    Depending on the outcome of further investigation and discovery, Plaintiff may, at

          the time of class certification motion, seek to certify one or more classes only as to

          particular issues pursuant to Fed. R. Civ. P. 23(c)(4).

                                      FIRST CAUSE OF ACTION

         Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf
                  of himself and the members of a class, as against the Defendant.

   52.    Plaintiff re-states, re-alleges, and incorporates herein by reference, paragraphs one

          (1) through fifty one (51) as if set forth fully in this cause of action.

   53.    Defendant violated the FDCPA. Defendant's violations with respect to the above

          said messages include, but are not limited to, the following:



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          (a)    Engaging in conduct the natural consequence of which is to harass, oppress,

                 or abuse any person in connection with the collection of a debt, in violation

                 of 15 U.S.C. § 1692d;

          (b)    Placing telephone calls without providing meaningful disclosure of

                 Financial Recovery Services, Inc.'s identity as the caller, in violation of 15

                 U.S.C. § 1692d(6);

          (c)    Leaving telephonic voice messages which fail to disclose the purpose or

                 nature of the communication (i.e., an attempt to collect a debt), in violation

                 of 15 U.S.C. § 1692d(6);

          (d)    Using a false representation or deceptive means to collect or attempt to

                 collect any debt or to obtain information concerning a consumer, in

                 violation of 15 U.S.C. § 1692e(10);

          (e)    Failing to disclose in its initial communication with the consumer, when

                 that communication is oral, that Defendant, Financial Recovery Services,

                 Inc. was attempting to collect a debt and that any information obtained will

                 be used for that purpose, in violation of 15 U.S.C. § 1692e(11); and

          (f)    Failing to disclose in all oral communications that Financial Recovery

                 Services, Inc. is a debt collector, in violation of 15 U.S.C. § 1692e(11).

                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, respectfully requests that this Court enter a judgment in Plaintiff's favor

   as against the Defendant and award damages as follows:




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           (a)     Statutory and actual damages provided under the FDCPA, 15 U.S.C. §

                   1692(k);

           (b)     Attorney fees, litigation expenses and costs incurred in bringing this action;

                   and

           (c)     Any other relief that this Court deems appropriate and just under the

                   circumstances.

   Dated: Brooklyn, New York
          August 13, 2013
                                                    __/s/__Maxim Maximov____________
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   Plaintiff requests trial by jury on all issues so triable.


                                                    __/s/__ Maxim Maximov__________
                                                    Maxim Maximov, Esq.




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